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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS DEC 3-8 2015
BROWNSVILLE DIVISION

Saks Bracey, er cf Cot
UNITED STATES OF AMERICA §
vs § CRIMINAL NO.
B-15-1147
ERNESTO PEREZ §

ALEXIS FONSECA-TAMAYO

INDICTMENT

THE GRAND JURY CHARGES:
COUNT 1
From on or about December 10, 2014 through December 3, 2015, in the Southern
District of Texas and within the jurisdiction of the Court, Defendants,

ERNESTO PEREZ and
ALEXIS FONSECA-TAMAYO,

did knowingly and willfully conspire and agree with each other and persons known and
unknown to the Grand Jurors to violate Title 8, United States Code, Sections
1324(a)(1)(A\ii) and (iii), that is, the object of their conspiracy and agreement was to
transport and move and attempt to transport and move by means of a motor vehicle, on
foot and other means of transportation and conceal, harbor and shield from detection and
attempt to conceal, harbor and shield from detection by means of a building and other
means of transportation, an alien who had come to, entered, and remained in the United
States, in violation of law, and in furtherance of said alien’s illegal presence in the United

States.

In violation of Title 8, United States Code, Section 1324(a)(1)(A)(v)(I) and
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1324(a)(1)(B)(i).
COUNT 2
On or about December 3, 2015 in the Southern District of Texas and within the
jurisdiction of the Court, Defendants,

ERNESTO PEREZ and
ALEXIS FONSECA-TAMAYO,

knowing and in reckless disregard of the fact that an alien, Brandon Ivan Luna-Lopez, had
come to, entered, and remained in the United States in violation of law, did transport and
move, and attempt to transport and move such alien within the United States, from near
Brownsville, Texas, to near McAllen, Texas, by means of a motor vehicle and on foot, in
furtherance of such violation of law for the purpose of commercial advantage and private
financial gain.

In violation of Title 8, United States Code, Section 1324(a)(1)(A)(ii) and
1324(a)(1)(B)(i).

COUNT 3

On or about December 3, 2015 in the Southern District of Texas and within the

jurisdiction of the Court, Defendants,

ERNESTO PEREZ and
ALEXIS FONSECA-TAMAYO,

knowing and in reckless disregard of the fact that an alien, Jose De Jesus Bueso-Ulloa,
had come to, entered, and remained in the United States in violation of law, did transport
and move, and attempt to transport and move such alien within the United States, from
near Brownsville, Texas, to near McAllen, Texas, by means of a motor vehicle and on

foot, in furtherance of such violation of law for the purpose of commercial advantage and

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private financial gain.
In violation of Title 8, United States Code, Section 1324(a)(1)(A)(ii) and
1324(a)(1)(B)(i).
COUNT 4
On or about December 3, 2015, in the Southern District of Texas and within the
jurisdiction of the Court, Defendant

ERNESTO PEREZ and
ALEXIS FONSECA-TAMAYO,

knowing and in reckless disregard of the fact that an alien, Brandon Ivan Luna-Lopez, had
come to, entered, and remained in the United States in violation of law, did conceal,
harbor, and shield from detection such alien in buildings and other places, in furtherance
of such violation of law for the purpose of commercial advantage and private financial
gain.

in violation of Title 8, United States Code, Section 1324(a)(1)(A)(iii) and
1324(a)(1)(B)(i).

COUNT 5

On or about December 3, 2015, in the Southern District of Texas and within the

jurisdiction of the Court, Defendant

ERNESTO PEREZ and
ALEXIS FONSECA-TAMAYO,

knowing and in reckless disregard of the fact that an alien, Jose De Jesus Bueso-Ulloa,
had come to, entered, and remained in the United States in violation of law, did conceal,
harbor, and shield from detection such alien in buildings and other places, in furtherance

of such violation of law for the purpose of commercial advantage and private financial
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gain.
In violation of Title 8, United States Code, Section 1324(a)(1){A)(iii) and

1324(a)(1)(B)(i).

A TRUE BILL:

FOREPERSON OF THE GRAND JURY

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KENNETH MAGIDSON
UNITED STATES ATTORNEY

KAREN BETANCOURT
Assistant United States Attorney

